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    IT IS ORDERED as set forth below:



    Date: January 12, 2022
                                                             _________________________________

                                                                      Barbara Ellis-Monro
                                                                 U.S. Bankruptcy Court Judge

  ________________________________________________________________



                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


 IN RE:                                            :          CASE NO. 09-61855-BEM
                                                   :
 TODD ANTHONY SHAW,                                :          CHAPTER 7
                                                   :
          Debtor.                                  :
                                                   :

          ORDER AUTHORIZING PAYMENT OF ADMINISTRATIVE EXPENSES

          On December 17, 2021, S. Gregory Hays, as Chapter 7 Trustee for the bankruptcy estate

 of Todd Anthony Shaw (“Trustee”), filed a motion for authority to pay administrative expenses

 of the bankruptcy estate, seeking authority to pay $14,525.00 to the Georgia Department of

 Revenue for State income taxes and $57,487.00 to the Internal Revenue Service for federal

 income taxes for calendar year 2021 [Doc. No. 241] (the “Motion”).

          In the Motion, Trustee shows that there are sufficient funds in this bankruptcy estate with

 which to make the foregoing payments, and Trustee submits that such payments are proper as

 administrative expenses of the bankruptcy estate.



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         Also on December 17, 2021, Trustee filed a Notice of Trustee’s Motion for Authority to

 Pay Administrative Expenses of Chapter 7 Estate; Deadline to Object; and for Hearing [Doc.

 No. 242] (the “Notice”), in accordance with the Second Amended and Restated General Order

 No. 24-2018, and setting a hearing on the Motion on January 25, 2022 (the “Hearing”). Counsel

 for Trustee certifies that he served the Notice on all requisite parties in interest. [Doc. No. 243].

         The Notice provided notice of the opportunity to object and for hearing pursuant to the

 procedures in the Second Amended and Restated General Order No. 24-2018. No objection to

 the Motion was filed prior to the objection deadline provided in the Notice.

         The Court having considered the Motion and all other matters of record, including the

 lack of objection to the relief requested in the Motion; and, the Court having found that good

 cause exists to grant the relief requested in the Motion, it is hereby

         ORDERED that the Motion is granted and Trustee is authorized to pay $14,525.00 to the

 Georgia Department of Revenue for State income taxes and $57,487.00 to the Internal Revenue

 Service for federal income taxes.

                                      [END OF DOCUMENT]

 Order prepared and presented by:


 ARNALL GOLDEN GREGORY LLP
 Attorneys for Trustee

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 Identification of parties to be served:

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